                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

KILMAR ARMANDO
ABREGO GARCIA, et al.,                           *

        Plaintiffs,                              *
                                                             Civil Action No. 8:25-cv-00951-PX
   v.                                            *

KRISTI NOEM, Secretary,                          *
United States Department                         *
of Homeland Security, et al.,                    *

        Defendants.
                                               *
                                              ***
                                             ORDER

        For the reasons discussed during today’s status conference, the Court finds that the

Defendants have failed to comply with this Court’s Order at ECF No. 51. In advance of the

conference, the Court had directed Defendants to file a supplemental declaration from an

individual with personal knowledge, addressing the following: (1) the current physical location

and custodial status of Abrego Garcia; (2) what steps, if any, Defendants have taken to facilitate

Abrego Garcia’s immediate return to the United States; and (3) what additional steps Defendants

will take, and when, to facilitate his return. ECF No. 51. Defendants made no meaningful effort

to comply. Instead, they complained that the Order is “unreasonable and impracticable,” and

involves “sensitive country-specific considerations wholly inappropriate for judicial review.”

ECF No. 59 at 2.

        During the hearing, the Court posed straightforward questions, including: Where is Abrego

Garcia right now? What steps had Defendants taken to facilitate his return while the Court’s initial

order on injunctive relief was in effect (from the afternoon of April 4, 2025, through the morning

of April 7, 2025, and since 6:35 PM last night)? Defendants’ counsel responded that he could not



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answer these questions, and at times suggested that Defendants had withheld such information

from him. As a result, counsel could not confirm, and thus did not advance any evidence, that

Defendants had done anything to facilitate Abrego Garcia’s return. This remained Defendants’

position even after this Court reminded them that the Supreme Court of the United States expressly

affirmed this Court’s authority to require the Government “facilitate” Abrego Garcia’s return. See

Noem v. Abrego Garcia, 25A949, 604 U.S. ___ (2025), Slip Op. at 2. From this Court’s

perspective, Defendants’ contention that they could not answer these basic questions absent some

nonspecific “vetting” that has yet to take place, provides no basis for their lack of compliance.

         Accordingly, it is hereby ORDERED that beginning April 12, 2025, and continuing each

day thereafter until further order of the Court, Defendants shall file daily, on or before 5:00 PM

ET, a declaration made by an individual with personal knowledge as to any information regarding:

(1) the current physical location and custodial status of Abrego Garcia; (2) what steps, if any,

Defendants have taken to facilitate his immediate return to the United States; (3) what additional

steps Defendants will take, and when, to facilitate his return.1 A follow-up in-person hearing will

be scheduled for Tuesday, April 15, 2025, at 4:00 PM.

         To the extent Plaintiffs seek additional relief, their motion shall be filed no later than 5:00

PM ET on Saturday, April 12, 2025. Defendants shall file any response by 5:00 PM ET on Sunday,

April 13, 2025.

         So Ordered.


       April 11, 2025                                                          /S/
    Date                                                                Paula Xinis
                                                                        United States District Judge

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  Defendants’ assertion that “foreign affairs cannot operate on judicial timelines” sorely misses the point. ECF No.
59. All parties appearing before this Court are obligated to comply with court-ordered deadliness unless and until
they demonstrate good cause to depart from them. See Nourison Rug Corp. v. Parvizian, 535 F.3d 295, 298 (4th
Cir. 2008). Defendants’ vague reference to “foreign affairs” alone does not justify their lack of compliance.


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